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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

ART AKIANE, LLC,

         Plaintiff,

         v.

ART & SOULWORKS LLC,
CAROL CORNELIUSON, and
CARPENTREE, INC.
                                                                  Civil Action No. 19-cv-02952
         Defendants.
---------------------------------------------------------------   Judge Edmond E. Chang
ART & SOULWORKS LLC, and
CAROLYNE CORNELIUSON,

         Defendants/Counter-Plaintiffs,

         v.

ART AKIANE LLC,

         Plaintiff-Counter-Defendant.

and

AKIANE ART GALLERY, LLC, and
AKIANE KRAMARIK

         Counter-Defendants.

                   UNOPPOSED MOTION TO EXTEND TIME TO ANSWER
                              OR OTHERWISE PLEAD

         The Defendant, Carpentree, Inc. (“Carpentree”), by its attorneys, Litchfield Cavo LLP,

moves the court to extend the time to answer or otherwise plead to September 27, 2019, and in

support thereof states as follows:

         1.       Carpentree was first named as a Defendant in this action in the First Amended

Complaint filed by the Plaintiff on August 22, 2019.
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       2.      Carpentree was served with the First Amended Complaint on August 23, 2019. That

amended pleading consists of 210 paragraphs and references over 1000 pages of exhibits.

       3.      Carpentree hereby requests an additional 14 days to answer or otherwise plead, until

September 27, 2019.

       4.      Counsel for the other parties to this action have stated that each has no objection to

Carpentree’s request for this additional time to answer or otherwise plead.

       WHEREFORE, Defendant Carpentree, Inc. hereby moves this Honorable Court to enter an

order granting it leave until September 27, 2019, to answer or otherwise plead.

DATED: September 4, 2019.
                                                      LITCHFIELD CAVO LLP

                                                      /s/ Ryan D. Janski
                                                      One of the Attorneys for Defendant,
                                                      Carpentree, Inc.

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                                 CERTIFICATE OF SERVICE


       I, Ryan D. Janski, hereby certify that on September 4, 2019, I caused the foregoing to be
served on all counsel of record via CM/ECF electronic filing.

                                                              /s/ Ryan D. Janski
